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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

PAVEL RASKIN, Case No. CV 20-4482-JPR

Plaintiff,
JUDGMENT
Vv.

KILOLO KIJAKAZI, Acting
Commissioner of Social
Security,

Defendant.

 

For the reasons set forth in the accompanying Memorandum
Decision and Order, it is hereby ADJUDGED THAT (1) Plaintiff’s
request for an order remanding the case for further proceedings is
GRANTED; (2) the Acting Commissioner’s request for an order

affirming her final decision is DENIED; and (3) judgment is entered

in Plaintiff’S favor.
November 10, 2021 ( ne Mutt .
DATED:

 

 

JEAN P. ROSENBLUTH
U.S. MAGISTRATE JUDGE

 
